               Case 1:24-cv-00312-SE-TSM                   Document 29       Filed 10/30/24        Page 1 of 2
USDCNH-96 (Rev. 7/14) Appearance of Counsel


                                    UNITED STATES DISTRICT COURT
                                                              for the
                                                   District of New Hampshire


           Coalition for Open Democracy et al.                   )
                            Plaintiff                            )
                               v.                                )      Case No.   1:24-cv-00312
      David M. Scanlan, in his official capacity, et al.         )
                           Defendant                             )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Coalition for Open Democracy, League of Women Voters of New Hampshire, Forward Foundation, et al.                .


Date:         10/30/2024                                                                /s/ Sophia Lin Lakin
                                                                                         Attorney’s signature


                                                                               Sophia Lin Lakin, NY Bar No. 5182076
                                                                                     Printed name and bar number

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I hereby certify that this Appearance was filed in the court's electronic filing system and served on the following
persons on this date and in the manner specified herein:

Electronically Served Through ECF:
 All counsel of record




 Conventionally Served:




          10/30/2024                                                          /s/ Sophia Lin Lakin
Date                                                        Signature



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